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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-CV-81205-RAR

   SECURITIES AND EXCHANGE
   COMMISSION,

          Plaintiff,

   v.

   COMPLETE BUSINESS SOLUTIONS
   GROUP, INC. d/b/a PAR FUNDING, et al.,

         Defendants.
   ______________________________________/

                           FINAL JUDGMENT AS TO DEFENDANTS
                          LISA MCELHONE AND JOSEPH LAFORTE

          THIS CAUSE comes before the Court upon the Order Granting in Part Plaintiff’s

   Amended Omnibus Motion for Final Judgment [ECF No. 1432] (“Order”). For the reasons set

   forth in the Order, it is hereby ORDERED AND ADJUDGED as follows:

                               INCORPORATION OF JUDGMENT

           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the Court’s

   Judgments of Permanent Injunction as to Defendants entered on November 24, 2021 [ECF Nos.

   1008 and 1010] are hereby adopted and incorporated by reference with the same force and effect

   as if fully set forth herein, and that Defendants shall comply with all the undertakings and

   agreements set forth therein.

           DISGORGEMENT, PREJUDGMENT INTEREST, AND CIVIL PENALTY

          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

   Defendants are jointly and severally liable for disgorgement of $163,084,186, representing the

   amount of their ill-gotten gains as a result of the conduct alleged in the Amended Complaint [ECF

   No. 119], together with prejudgment interest thereon in the amount of $12,237,046.14. Defendants
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   are also liable for civil penalties in the amount of $21,850,000 each for a total of $43,700,000,

   pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the

   Exchange Act [15 U.S.C. § 78u(d)(3)].

          Defendants shall pay the total of $219,021,232.14 to the Court-appointed Receiver within

   thirty (30) days of entry of this Final Judgment.

          Defendants shall simultaneously transmit photocopies of evidence of payment and case

   identifying information to the Commission’s counsel in this action. By making this payment,

   Defendants relinquish all legal and equitable right, title, and interest in such funds and no part of

   the funds shall be returned to Defendants.

           The Commission may enforce the Court’s judgment for disgorgement and prejudgment

   interest by using all collection procedures authorized by law, including, but not limited to, moving

   for civil contempt at any time after thirty (30) days following entry of this Final Judgment. The

   Commission may enforce the Court’s judgment for penalties by the use of all collection procedures

   authorized by law, including the Federal Debt Collection Procedures Act, 28 U.S.C. § 3001 et seq.,

   and moving for civil contempt for the violation of any Court orders issued in this action.

   Defendants shall pay post-judgment interest on any amounts due after thirty (30) days of the entry

   of this Final Judgment pursuant to 28 U.S.C. § 1961.

          The Commission or the Receiver may propose a plan to distribute the funds subject to the

   Court’s approval. Such a plan may provide that the Fund shall be distributed pursuant to the Fair

   Fund provisions of Section 308(a) of the Sarbanes-Oxley Act of 2002. The Court shall retain

   jurisdiction over the administration of any distribution of the Fair Fund and the Fund may only be

   disbursed pursuant to an order of the Court.




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          Regardless of whether any such Fair Fund distribution is made, amounts ordered to be paid

   as civil penalties pursuant to this Final Judgment shall be treated as penalties paid to the

   government for all purposes, including all tax purposes. To preserve the deterrent effect of the

   civil penalty, Defendants shall not, after offset or reduction of any award of compensatory damages

   in any Related Investor Action based on Defendants’ payment of disgorgement in this action, argue

   that they are entitled to, nor shall they further benefit by, offset or reduction of such compensatory

   damages award by the amount of any part of Defendants’ payment of a civil penalty in this action

   (“Penalty Offset”). If the court in any Related Investor Action grants such a Penalty Offset,

   Defendants shall, within thirty (30) days after entry of a final order granting the Penalty Offset,

   notify the Commission’s counsel in this action and pay the amount of the Penalty Offset to the

   United States Treasury or to a Fair Fund, as the Commission directs. Such a payment shall not be

   deemed an additional civil penalty and shall not be deemed to change the amount of the civil

   penalty imposed in this Final Judgment. For purposes of this paragraph, a “Related Investor

   Action” means a private damages action brought against Defendants by or on behalf of one or

   more investors based on substantially the same facts as alleged in the Complaint in this action.

                                  RETENTION OF JURISDICTION

          This Court shall retain jurisdiction over this matter and Defendants in order to implement

   and carry out the terms of all Orders and Decrees that may be entered and/or to entertain any

   suitable application or motion for additional relief within the jurisdiction of this Court, and will

   order other relief that this Court deems appropriate under the circumstances.

                                    RULE 54(b) CERTIFICATION

          There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

   Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.



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         DONE AND ORDERED in Fort Lauderdale, Florida, this 24th day of October, 2022.




                                                 ________________________________
                                                 RODOLFO A. RUIZ II
                                                 UNITED STATES DISTRICT JUDGE


   cc:   Counsel of Record




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